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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                               Civil 18-1998(DSD/SER)

Jerald Boitnott

v.                                                       ORDER REGARDING
                                                         DISPOSITIVE MOTION
Famous Dave’s of America, Inc.                           PROCEDURE
d/b/a Famous Dave’s, et al.

       Notwithstanding the provisions of Local Rules 7.1(c)-(d), IT IS HEREBY

ORDERED that the following procedures shall apply to the dispositive-motion1 practice in

this case:

       1.     The moving party shall first contact the court’s courtroom deputy, Connie

Baker, at (612) 664-5063, to secure a hearing date at least 42 days in the future. Once the

moving party has secured a hearing date, it shall promptly file a notice of motion informing

all parties of the nature of the motion and the date, time and location of the hearing.

       2.     The moving party shall serve and file the following documents at least 42 days

before the scheduled hearing: (a) motion, (b) memorandum of law and (c) affidavits and


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          The following are deemed dispositive motions under this order: motions for
preliminary or permanent injunctive relief; motions to dismiss, for judgment on the pleadings
or for summary judgment; motions to certify a class action; motions to exclude expert
testimony under Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and/or
Federal Rule of Evidence 702; motions to remand or transfer; and motions to compel
arbitration. Absent permission from the court, a party moving for a temporary restraining
order must file and serve its motion papers, in addition to the Summons and Complaint, on
the proposed-enjoined party before the court will entertain the motion. A motion for a
temporary restraining order is not subject to the 42-day rule set forth below; rather, the
courtroom deputy will advise the parties of the hearing date and briefing schedule. All
motions for injunctive relief and motions to exclude expert testimony will be handled without
live witness testimony absent advance permission from the court.
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exhibits. The party may file these documents after the pretrial scheduling order’s deadline

for dispositive motions so long as the notice of motion is filed by that deadline. The party

shall provide the court with TWO hard copies of its memorandum and ONE copy of any

affidavits and exhibits.

       3.     The responding party shall serve and file the following documents at least 21

days before the hearing: (a) memorandum of law and (b) affidavits and exhibits. The party

shall provide the court with TWO hard copies of its memorandum and ONE copy of any

affidavits and exhibits.

       4.     The moving party shall serve and file the following documents at least 14 days

before the hearing: (a) memorandum of law or (b) a notice stating that no reply will be filed.

A reply memorandum shall not raise new grounds for relief or present matters that do not

relate to the response. The party shall provide the court with TWO hard copies of its

memorandum.

       5.     If the court sua sponte cancels the hearing or continues the hearing date, all

subsequently filed motion papers must be served as if the original hearing date were still in

effect, unless otherwise directed by the court.

       6.     Parties need not meet and confer, as required under Local Rule 7.1(a), in

advance of filing a dispositive motion, although they are encouraged to do so to attempt to

narrow the issues presented to the court.




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       All other provisions in Local Rule 7.1 are unaffected by this order and remain

applicable, including the word limitation in Rule 7.1(f).

Dated: July 17, 2018
                                                  s/David S. Doty
                                                  David S. Doty, Judge
                                                  United States District Court

* If a defendant enters its appearance after this order is filed, the plaintiff(s) is directed
to notify the defendant of the existence of this order and furnish a copy hereof.




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